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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 10-cr-92-PB

Kyle Burby and
Jeremiah Ready



                               O R D E R


     The defendants, through counsel, have jointly moved to

continue the trial scheduled for September 8, 2010, citing the

need for additional time to complete discovery and engage in plea

negotiations.    The government does not object to a continuance of

the trial date.

     Accordingly, for the above reasons, and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from September 8, 2010 to December 1, 2010.

In agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(7)(A) that the ends of justice served in

granting a continuance outweigh the best interests of the public

and the defendants in a speedy trial.
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      The August 30, 2010 final pretrial conference is continued

to November 18, 2010 at 4:00 p.m.        No further continuances.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

August 27, 2010

cc:   Jennifer Davis, Esq.
      Timothy Harrington, Esq.
      Richard Monteith, Esq.
      United States Probation
      United States Marshal




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